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                         U NITED STATE S D ISTR ICT C O UR T
                         SO UTHERN DISTRICT O F FLO RIDA

                       CaseNo.9:17-cv-80531-M IDDLEBROOK S

JANET HOYT,

       Plaintiff,



PRESIDENTE SUPERM ARKET N O.
39,lN C.,

       Defendant.
                                        /

                                O RD ER CLO SIN G C A SE

      THIS CAUSE com es before tht Court on Plaintiff Janet Hoyt's Notice of V oluntary

DismissalwithoutPrejudice,filed on June 8,2017, (DE 14). Pursuantto Rule 41(a)ofthe
FederalRulesofCivilProcedure,a plaintiffmay voluntarily dism issan action by filing a notice

of dismissal before the opposing party serves either an answer or a m otion for summary

judgment. See Fed.R.Civ.P.41(a)(1)(A)(i). Defendanthasnotserved an answerorfiled a
motionforsummaryjudgment.Accordingly,itishereby
      O RD ER ED and A DJU DG ED thatthe Clerk ofCourtshallCL O SE this CA SE. A ll

pendingm otionsareherebyDENIED AS M O OT.
      DONE AND ORDERED in Chambers at W es alm B ch,Florida,this ZA ayof
                                             ,                                   -




June,2017.


                                          O ALD M .M IDDLEBROOKS
                                         UN ITED STA TES D ISTRICT JUD G E
CC:   A llCounselofR ecord
